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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                          No. 2:03-cr-0042 MCE JFM P

12           vs.

13   JASON KEITH WALKER,

14                  Movant.                              ORDER

15                                              /

16                  Movant is proceeding with counsel with a motion to vacate, set aside or correct

17   his sentence under 28 U.S.C. § 2255. On February 28, 2013 the court held a status conference

18   on the matter. The issue of the timing of respondent’s response to the motion was discussed and

19   decided at that conference.

20                  Accordingly, IT IS HEREBY ORDERED that:

21                  1.     Respondent shall file its response to movant’s original and supplement to

22                         the motion to vacate before May 31, 2013; and

23   ////

24   ////

25   ////

26   ////

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 1                     2.   A status conference will be set, as appropriate, following the filing of

 2                          respondent’s response.

 3   DATED: March 20, 2013.

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 7   12
     walk0042.answer
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